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FOR PUBLICATION

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

CHRIS G. ALEVRAS,

Plaintiff,
OPINION
¥.

Civ. No, 03-3780 (WHW)
JOSEPH TACOPINA, TAMA BETH
KUDMAN, JOSEPH BENFANTE,
Individually, Jointly,
and Severally

Defendants.

 

Walls, District Judge

Defendants Joseph Tacopina (“Tacopina”), Tama Beth Kudman (“Kudman”), and Joseph
Benfante (“Benfante”’) (collectively, “Dcfendants”) move for (1) an order granting summary
indgment and (ii) an order dismissing plaintiff Chris Alevras’ (“Alevras”) complaint for failure to
slate a claim. Pursuant to Fed. R. Civ. P. 78, the motion is decided without oral argument.
Defendants’ motion for summary judgment is granted.

FACTUAL BACKGROUND AND PROCEDURAL HISTORY

This action arises out of Alevras’ dissatisfaction with the legal representation provided to
him by Defendants during his 1997 prosecution tor fraud and Srearm possession in the United
States District Court, District of New Jersey, before the Honorable Judge Joseph A. Greenaway.
Early in 1997, Alevras was charged in a 38-count indictment including counts of mail, bank and
wire fraud (the “99 case”), and later was charged in a criminal information for one count of

unlawful possession of a firearm (the “172 case”). On February 19, 1997, Alevras was arrested
 

 

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and brought before the court fur arraignment. Pursuant to the Criminal Justice Act (“CJA”),
Alevras filed an in forma pauperis application and the court assigned Jeffrey Bronster, Esq.
(“Bronster’) as defense counsel.

On or about March |, 1997, Bronster and Alevras met with the government to discuss a
plea agreement. On March 14, 1997, Alevras pled guilty before Judge Greenaway to bank fraud,
submission of a false claim to the United States, and unlawful possession of a firearm by a
convicted felon.

In June of 1997, Alevras sought and obtained Judge Greenaway’s permission to replace
Bronster with counsel at his own expense. Judge Greenaway conditioned Alevras’ request for
new counsel on his first paying Bronster the full value of his legal service. On June 30, 1997,
Alevras met with Tacopina and Kudman lo discuss the possibility of retaining them. Alevras
alleges that, at this initial meeting, Tacopina and Kudman fraudulently induced him to retain
them as defense counsel by falsely holding themselves oul as experts in federal criminal law,
Alevras also alleges that, during this meeting, Tacopina and Kudman promised to keep him
accuralely and timely informed as to all case developments and promised to obtain his consent
before making any substantive decisions. In reliance on these promises, Alevras claims he
retained Tacopina and Kudmuan as defense counsel and paid $19,000.00 of the $20,000.00 fee
requested.

Alevras was initially released on bail, but a warrant for his arrest was issued after he
failed to appear for a scheduled status conference on July 1, 1997. Alevras surrendered on July

2, 1997, al which point Judge Greenaway held a hearing to determine whether to revoke Alevras’

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bail and remand him until his sentencing. At the July 2, 1997 hearing, Alevras told the judge that
he had retained Tacopina, but Judge Greenaway found that Alevras had misrepresented his
financial status Lo the court im order to obtain a CJA attorney, and failed to pay that attorney, a
condition for retaining new counsel. Alevras alleges that the judge refused to conlact Tacopina,
and Alevras defended himself at the hearing. Judge Greenaway revoked the defendant’s bail and
remanded him to custody. Alevrus alleges thal, based on the “uncounseled statements” he made
at the July 2 hearing, his bail was revoked, and the probation department filed an application to
increase his offense level by five points.

On July 11, 1997, Tacopina filed a notice of appearance with the district court and a
motion Lo reinstate Alevras’ bail pending sentencing. Alevras was represented by Bentante and
Kudman, associates of Tacopina, at the July 11, 1997 hearing to reinstate bail, which was denied
by the court. Alevras alleges that Benfante and Kudman were “negligently, recklessly, willfully
and wantonly unprepared to effectively represent Alevras” at the July 11 hearing, including their
failure to appeal the July 2 ruling.

At an August 22, 1997 hearing, Tacopina renewed the motion to reinstate Alevras’ bail.
Alcvras aileges that Defendants again acted negligently and recklessly because they failed to
appeal the July 2 order, failed ta appeal the order to pay Bronster for his CJA services, and failed
to contest the admissibility of Alevras’ “uncounseled” statements at the July 2 hearing.

In October of 1997, Alevras met with the present Defendants to discuss the status of his
criminal case, Alevras alleges that they erroneously advised him that, among other things, there

was no factual or legal basis to challenge the July 2 ruling or to seck the recusal of Judge

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Greenaway. It is also alleged that Alevras was advised that his best interests would be served by
proceeding to the plea agreement without filing objections to the pre-sentence report. On
October 7, 1997, Defendants presented to Alevras an amended plea agreement, where, in
consideration for the United States withdrawing the 5 point enhancement in his sentencing,
Alevras would agree to a limited waiver of his direct appeal and post-conviction rights. Alevras
alleges that Defendants negligently, recklessly and willfully advised Alevras to sign the amended
plea agreement. On October 14, 1997, the court accepted the amended plea agreement, and
sentenced Alevras to 87 months. On October 21, 1997, Alevras surrendered and began serving
his sentence.

Alevras alleges that afler his sentencing, he faxed a request to Tacopina instructing
Defendants to prepare a notice of appeal on the 99 and 172 cases and to transmit this notice to
Alevras for him to file pre se. Defendants claim that they prepared the notice of appeal and sent
it to the address Alevras provided, but it was returned to their office one week later becausc
Alevras was no longer incarcerated at the location indicated on the fax. Defendants claim that by
this time, the deadline to file an appeal had passed. Defendants also note that, despite Alevras’
instruction that Defendants should not file a notice of appeal on his behalf, they drafled and filed
a notice of appeal along with a motion to extend the time to file a notice of appeal on the basis of
excusable neglect. Judge Greenaway denied the motion. Alevras alleges that Defendants
refused to comply with the instructions contained in his October 27 fax, and that they negligently,
recklessly and willfully “misprepared” and “misfiled” the notice of appeal and failed to transmit

a copy of the defective notice to Alevras.
 

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After Alevras’ guilty plea was entered, he brought a 28 U.S.C. § 2255 motion, pro se,
alleging ineffective assistance of counsel. The court denied Alevras’ $ 2255 motion on the
grounds that he had entered into his plea agreement voluntarily and that he received effective
assistance of counsel. Alevras appealed the denial to the Third Circuit, which directed Judge
Greenaway lo hold a hearing on two issues: (1) whether Alevras made a timely request of his
counsel to file a notice of appeal: and (2) whether Tacopina told Alevras that the District Court
would remand him immediately and give him a five-point upward enhancement if he refused the
plea agreement, but would sentence him to the bottom of the guideline range if he accepted it.

At the hearing, Judge Grecnaway found that the evidence cstablished that Alevras had
asked Tacopina not lo file a notice of appeal on his behalf, and that neither the court nor
Tacopina had suggested to Alevras that his acceptance of the plea agreement would influence the
length of his sentence. The court denied Alevras’ § 2255 petition a second time which was
subsequently upheld by the Third Circuit and a petition for a writ of certiorari was denied by the
Supreme Court. The civil suit now before this Court is based on the same allegations regarding
the services provided to Alevras by Defendants which were challenged in Alevras’ § 2255
petition. Alevras’ complaint alleges seven causes of action: (1) negligence or legal malpractice;
(2) willful and wanton misconduct; (3) breach of express or implied warranties; (4) fraudulent
musrepresentation; (5) fraudulent concealment; (6) breach of fiduciary duty/unethical conduct;
and (7) tailure of consideration.

On October 28, 2003, Defendants filed a motion to dismiss, challenging the adequacy of

the Affidavit of Merit filed with the complaint. That Affidavit is required by New Jersey law lo

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begin a legal malpractice suit. The Court denied Defendants’ motion on December 21, 2004.
Defendants have since filed a separate motion for summary judgment based on theories of
collateral estoppel, res judicata and New Jersey's Entire Controversy Doctrine. Defendants also
brought a second motion to dismiss for failure to state a claim.
LEGAL STANDARD

Summary judgment is appropriate where the moving party establishes that “there is no
genuine issue as to any material fact and that [it] is entitled to a judgment as a matter of law.”
Fed. R. Civ. P. 56(c). A factual dispute between the partics will not defeat a motion for summary
judgement unless it is both genuine and material. See Anderson v. Liberty Lobby, Inc., 477 U.S.
242, 247-48 (1986). A factual dispute is genuine if a reasonable jury could return a verdict for
the non-movant and it is material if, under the substantive law, it would affect the outcome of the
suit, See id, at 248. The moving party must show that if the evidentiary material of record were
reduced to admissible evidence in court, it would be insufficient to permit the non-moving party
to carry its burden of proof. See Celotex v. Catrett, 477 U.S. 317, 318 (1986).

Once the moving party has carried its burden under Rule 56, “its opponent must do more
than simply show that there is some metaphysical doubt as to the material facts in question.”

Matsushita Elec. Indus. Co, v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). To survive a

   

motion for summary judgment, a nonmovant must present more than a mere scintilla of evidence

in his favor. Woloszyn v. County of Lawrence, 396 F.3d 314, 319 (3d Cir. 2005). The opposing

 

party must set forth specific facts showing a genuine issue for trial and may not rest upon the

mere allegations or denials of its pleadings, Shields vy. Zuccarini, 254 F.3d 476, 481 (3d Cir.

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2001). At the summary judement stage the court’s function is not to weigh the evidence and
determine the truth of the matter, but rather to determine whether there is a genuine issue for
trial. See Anderson, 477 U.S. at 249. In doing so, the court must construe the facts and
inferences in the light most favorable to the non-moving party. Curley v. Klem, 298 F.3d 271,
277 (3d Cir. 2002),
DISCUSSION

Detendants arguc that the doctrine of collateral estoppel should apply to prevent Alevras
from raising his malpractice claims. Specitically, Defendants argue that Judge Greenaway’s
earlier rejection of Alevras’ claim of ineffective assistance of counsel estops him from bringing
his current civil suit. Defendants contend that Alevras had a full and fair opportunity lo raise bis
concems regarding his criminal defense and Judge Greenaway’s dectsion to dismiss the 2255
petition precludes Alevras from now asserting a contract claim for legal malpractice.

The doctrine of collateral estoppel, often referred to as issue preclusion, as applied in
New Jersey, requires demonstration of the following elements: (1) the issuc presented in the
earlicr action was identical to the one raised in a later action; (2) there was a final judgment on
the merits; (3) the party asserting the issue earlier is the same or is in privity with the party
currently raising the issue; (4) the party was given a full and fair opportunity to litigate the issuc;
and (5) the determination of the issue was essential to the final judgment. Scc Matter of the
Estate of Dawson, 136 N.J. 1, 20(1994). The concept of collateral estoppel is distinct from that
Of res judicata, or claim preclusion, and operates broadly to prevent a party from litigating issues

that have becn adjudicated and decided previously by another court.

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The precise issuc presented to this Court is whether a federal court, having addressed
Alevras §2255 petition which alleged ineffective assistance of counsel, finally and fully
addressed the same issues raised in Alevras’ present civil action for legal malpractice such that
collateral esloppel applies to bar those claims. A defendant who claims that his attorncy’s
performance was ineffective must demonstrate:

First . . . that counscl’s performance was deficient. This requires showing that

counsel made errors so serious that counsel was not functioning as the ‘counsel’

suarantced the defendant by the Sixth Amendment. Second, the defendant must
show that the deficient performance prejudiced the defense, This requires a showing

that counsel’s errors were so serious as to deprive the defendant of a fair trial, a trial

whose result is reliable.

Strickland v, Washington, 466 U.S. 668, 687 (1984), As a general matter, counsel is deemed
effective if his performance is reasonable under prevailing professional norms. Hd. at 688. To
prevail, a defendant must show “a reasonable probability that, but for counsel's unprofessional
crrors, the result of the proceeding would have been different.” Id. at 694.

After remand from the Third Circuit, Judge Greenaway determined that there was no
factual basis for Alevras’ claim that Defendants’ criminal representation had been ineffective.
Indeed, Judge Greenaway noled “that [defendants] Tacopina and Kudman are both extremely
experienced defense attorneys.” (Tacopina Decl., Exh. A. at 13.) As Strickland instructs, a
determination of cffectiveness necessarily presumes that counsel has acted reasonably under the
prevailing professional standards. Id. at 688. Moreover, a cause of action for legal malpractice
in New Jersey requires “(1) the existence of an attorney-client relationship creating a duty of carc

by the defendant attorney, (2) the breach of that duty by the defendant, and (3) proximate

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causation of the damages claimed by the plaintiff.” Jerista v. Murray ---A.2d ---, 2005 WL
2509874 (N.J. October 12, 2005) (quoting MeGrogan v. Till, 167 N.J. 414, 425 (2001)). Judge
Greenaway’s denial of Alevras’ claim that he received ineffective assistance of counsel
necessarily negates the second element of his legal malpractice claim. Indeed, some courts
recognize that the standard of proof for a claim of ineffective assistance of counsel and legal
malpractice arc equivalent, such that a decision in one would generally have preclusive effect in
another, See McCord v. Bailey, 636 F.2d 606, 609 (D.C. Cir. 1980).

The specific question here, whether the rejection of a defendant’s post-conviction,
collateral claim of ineffective assistance of criminal defense counsel estops a civil claim for legal
malpractice, is unique and has not been directly addressed by any New Jersey court. Considering
a similar issue, one New Jersey court found that a defendant who clearly and unconditionally
pled guilty to a criminal offense, could not later maintain a malpractice case against his defense
attorney for the “speculative thesis” that a better outcome would have arisen had his counsel used
“different tactics,” Alampi v. Russo, 345 N.J. Super. 360, 368-71 (App. Div. 2001), The
Alampi court examined a litany of state cases from other jurisdictions that required plaintiffs who
allege legal malpractice on the part of criminal attorneys, often referred to as criminal
malpractice, to “obtain post-conviction relief before creating a jury issue in a iegal malpractice
claim.” Id, at 370. The court declined to mandate a bright line test for such claims, but

nonetheless dismissed plaintiff's malpractice claim based on the specific facts of the case.’

 

' In general, the rationale for requiring a plaintiff to demonstrate post-conviction relief in
a later civil claim is that, without a finding of innocence, the harm to plaintiff is the conviction
itself, not the ineffectiveness of his counsel. As such, a failure to demonstrate post-conviction

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Apart from those jurisdictions that require a showing of post-conviction relief to
demonstrate the proximate cause of damage in a legal malpractice claim, a requirement absent
from New Jersey jurisprudence, other jurisdictions have recognized that the specific denial of
post-conviction relicf in the form of a petition for ineffective assistance of counsel 1s sufficient to
collaterally estop a later claim for malpractice. Most notably, the D.C. Circuit Court of Appeals
explicitly rejected a plaintiff's claim for malpractice against his former criminal allorney and
applied collateral estoppel when plaintiff “had every incentive in his criminal proceedings to

argue aggressively for his claim of ineffective assistance of counsel” and was given a “full and

 

fair opportunity Lo prove his case.” McCord, 636 F.2d at 610. In McCord, the plaintiff was
arrested in connection with his participation in the events surrounding the Watergate break-in.
He was tried and convicted in federal court, and appealed the decision claiming ineffective
assistance of counsel and alleging that his allorneys were disloyal, Both the district court and the
circuit court examined his claims of ineffective assistance of counsel and found them meritless. .
Id, at 608. From this determination, the district court, later affirmed by the circuit court,
dismissed McCord’s civil malpractice suit against his criminal attorneys. The Court cited
collateral estoppel and McCord’s failure to allege a legally cognizable injury as the basis for

granting summary judgment. Id. at 611.

 

relicf seemingly fails to satisfy the proximate cause of damage element of a claim for Icgal
malpractice under New Jersey law. See Weiner v. Mitchell, Silberberg & Knupp, 170 Cal. Rptr.
533 (Cal. CL. App. 1980) (nating that plaintiffs damages were caused by guilt of the underlying
offense, not by neghgence of counsel); sce also McCord, 636 at 611-12.

 

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The McCord court’s application of collateral estoppel to bar a later claim for malpractice
has been routinely followed by other jurisdictions. See, e.c., Bigelow v. Knight, 737 F. Supp.
669 (D.D.C 1990); People ex ref. Snead v. Kirkland, 462 F.Supp. 914 (E.D. Pa. 1978); U.S. v.
Bamer, 285 F. Supp. 2d 568 (M.D. Pa. 2003); Kowalczyk v. Gilroy, 994 F. Supp. 410 (E.D.N.Y.
1998); Zeidwig v. Ward, 548 So, 2d 209 (Fla, 1989); Johnson v. Raban, 702 $.W.2d 134 (Mo.
App. 1985); Vavolizza v. Krieger, 33 N.Y.2d 351 (1974); Siddigi v. Ober, Kaler, Grimes &
Shiver, 637 N.Y.8.2d 399 (N.Y. App. Div. 1996}; Garcia v. Ray, 556 §.W.2d 870 (Tex. Ct. App.
1977); Hockett vy. Breunig, 526 N.E.2d 995 (Ind. Ct. App. 1988); Younan v. Caruso, 39 Cal.
Rptr. 2d 103 (1996); Knoblauch vy. Kenyon, 415 N.W.2d 286 (Mich. Ct. App. 1987); Schiff v.
Williams, 1991 Conn. Super, LEXIS 301 (Conn, Super, Ct. Feb, 7, 1991); Alberici v, Tinari,
542 A.2d 127 (Pa. Super. Ct. 1988), In discussing the policy of rejecting such criminal

malpractice claims, the Alberici court reasoned that,

 

[where the issuc of ineffectiveness of counsel has been fully explored in the criminal
forum, and it has been determined that the counsel was not ineffective and the
detendant’s conviction has been sustained, it would be totally unreasonable to allow
the question of effectiveness to again be questioned in acivil trial. Such a procedure
would require a complete review of the criminal proceedings to determine if counsel
did or did not act in such a way that his conduct, or lack thereof, prejudiced the
criminal defendant. That question, having already been determined in the underlying
criminal procecding, may not again be the subject of judicial inquiry in a civil
proceeding.

Alberici, 542 A.2d at 133. Similarly, the Raban court explained its justification for the
application of collatcral estoppel to bar a civil malpractice claim against a criminal defense
allormney:

[PJublic policy dictates that a person convicted of a crime who has failed in his attack
upon his conviction both directly and collaterally should not be permitted to recover

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against his atlomey in a civil malpractice action for damages allegedly arising out of

ihe allorney’s handling of his defense. It would undermine the effective

administration of the judicial system to ignore completely a prior decision of a court

of competent jurisdiction in this state on the samme issue which plaintiff secks to

relitigate in a subsequent action.
Raban, 702 S.W.2d at 138. While the New Jersey Supreme Court has not specifically addressed
the issue, this Court is persuaded by the majority of courts which have rejected civil claims for
criminal malpractice when claims for ineffective assistance of counsel have been adjudicated,
decided and rejected in the underlying criminal proceeding.” Here, Alevras petitioned a judge for
a reduction in his sentence based on numerous allegations of ineffective assistance of counsel
and other allegations that his attorneys had mislead him in accepting his guilty plea, That
pelition was denicd. Alevras has now raised the same set of aliegations in asserting his civil
claim for legal malpractice.

Even allowing that Alevras’ malpractice claim is based on a slightly different set of facts
from those addressed in his §2255 petition, this is not sufficicnt to bar the application of

collateral estoppel. Blonder-Tongue Laboratories, Inc. v. University of TL Found., 402 U.S. 313,

 

324-25 (“A party who has had one fair and full opportunity to prove a claim and has failed in that
effort should not be permitted to go to trial on the merits of that claim a second time.”). The

facts regarding Defendants alleged malpractice were well known to Alevras at the time he made

 

* The Court also finds support for its decision in the fact, discussed above, that
demonstration of proximate cause of damage is a necessary element of a claim for legal
malpractice under New Jersey law and a Failure to demonstrate post-conviction relief amounts to
a failure to allege a legally cognizable injury. While the Court recognizes that the Alarnpi court
refused to establish a bright line rule with regard to this defense, the rationale for that decision is
applicable here.

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his claim of ineffective assistance of counscl and he was given a full and fair opportunity to raise
those issues with Judge Greenaway. See Schiff, 1991 Conn. Super. LEXIS 305, at *12-13
{rejecting plaintiff's argument that he should not be precluded from raising acts and omissions of
his counsel not addressed in his $2255 petition because “[plaintiff] could have pled all
allegations of negligence at the habeas corpus proceeding”). In fact, Judge Greenaway, pursuant
to remand from the Third Circuit, held mudtipfe cvidentiary hearings to resolve whether Alevras’
claim of ineffective assistance of counsel had any merit.* At thal lime, Alevras was provided an
opportunity to fully pursue the concerns he had with regard to his attorneys’ effectiveness. Judge
Greenaway ultimately determined that Alevras’ criminal defense representation was effective and
denied Alevras’ petition, Plaintiff now “seeks to relitigate issues concerning the quality of his
criminal trial counsel that he raised in the course of the criminal proceedings . .. and lost,” and as
such, “he cannot raise the claims anew in a civil case.” McCord, 636 F.2d at 611.

Plaintiff is collaterally estopped from bringing this action for legal malpractice.
Summary judgment is appropriate and the Court need not consider Defendants’ additional
arguments in their bricf for summary judgment or their motion to dismiss. Alevras’ complaint is

dismissed with prejudice and without leave to replead.

CONCLUSION

 

* Judge Greenaway held evidentiary hearings on April 9, 14 and 25, 2001 and May 4,
2001.

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For the reasons stated above, Defendants’ motion for summary judgment is granted and.

Plainuiff’s complaint is dismissed with prejudice. An appropriate ordcy follows.

  

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